                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            EASTERN DIVISION

                            NO.   4: lD-c.R-1B" \ "-\(2)
IN RE:

FIVE COUNT GRAND JURY                          ORDER TO SEAL INDICTMENT
INDICTMENT OF SEPTEMBER 9, 2010


     Upon motion of the united States, it is hereby ORDERED that

the Indictment in the above-captioned case, returned by the Federal

Grand Jury on September 9, 2010, be sealed.

     It is FURTHER ORDERED that the Clerk may temporarily unseal

the Indictment for the purposes of issuing an arrest warrant for

the defendant and to provide copies of the Indictment to the United

States Attorney in a sealed envelope.

     It is FURTHER ORDERED that the Clerk unseal and publish the

captioned Indictment upon motion of the United States Attorney or

upon the expiration of thirty           (30)   days,   whichever event occurs

first.

     This the
                    £, ,'L- day of

                                        UNITED STATES MAGISTRATE JUDGE




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